










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS



LUCIA CALLEROS, 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

SOUTHWEST STAFFING, INC. AND
ALEJANDRO GARCIA, JR.,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees.

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No. 08-05-00055-CV

Appeal from the

41st District Court

of El Paso County, Texas

(TC#2002-2990)




MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before the Court is the Appellant’s motion to dismiss this appeal pursuant to
Tex. R. App. P. 42.1(a)(1), which states:
(a) On Motion or By Agreement.  The appellate court may dispose of an appeal as
follows:
&nbsp;
(1) On Motion of Appellant.  In accordance with a motion of appellant,
the court may dismiss the appeal . . . unless disposition would prevent
a party from seeking relief to which it would otherwise be entitled.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Appellant has complied with the requirements of Rule 42.1(a)(1).  Appellant  has
requested that the Court grant its motion to dismiss the appeal pursuant to Texas Rules of
Appellate Procedure Rule 43.2(f) because the parties have entered into a settlement
agreement disposing of the underlying action.  Texas Rules of Appellate Procedure Rule
43.2(f) provides that the appellate court may dismiss the appeal.  The Court has considered
this cause on the Appellant’s motion and concludes the motion should be granted and the
appeal be dismissed.  We therefore dismiss the appeal with prejudice.  The costs shall be
borne by Appellant.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RICHARD BARAJAS, Chief Justice
August 18, 2005

Before Barajas, C.J., McClure, and Chew, JJ.


